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DECLARATION OF NATALIE ZASLOW PRICE

My name is Natalie Price and I hereby declare as follows:

1. I have personal knowledge of the matters stated herein and would testify to the
same if called as a witness in Court.

Z. I am over eighteen years of age and am otherwise competent to testify.

3. I currently live in Elkins Park, Pennsylvania, in Montgomery County, and am a

registered voter at my current address. I vote in every election. I believe the General Election of

2020 is particularly important.

4, I am 73 years old and identify as white.

5. I understand that my age puts me at risk of serious complications from a COVID-
19 infection. I avoid contact with strangers as much as possible as a result.

6. I chose to vote via mail-in ballot this year to avoid unnecessary exposure to
crowds on Election Day.

Ws I do not remember exactly when I received my mail-in ballot, but it was several
weeks ago. I returned it right away. I asked the postal worker to time-stamp it before | walked
away to make sure it was sent, because of how much my vote matters to me.

8. Between Sunday and Monday, November 1 and 2, I received three calls from the
Democratic Party notifying me that my ballot had been rejected. I asked why and they told me
they didn’t know. They instructed me to visit the voting center in Norristown to cure it.

9, I never received a call from any election official to inform me that my ballot had
been rejected.

10. The first site I visited in Norristown was a drop-off-only site. They told me that I

had to go to another site to see and cure my actual ballot. At that second site, I learned that my
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ballot had been marked as defective because I did not write my name and address in non-cursive
print.

11. | I was not aware that I was supposed to hand-write my name and address in non-
cursive print, next to where that information was already pre-printed on the envelope. Because
that exact information was already there, I understood it would have been redundant to write it
out again.

12. My ballot was signed, dated, and otherwise complied with all other ballot
instructions.

13. Tocure my ballot, I showed the county employee my ID, added my information
next to where it was pre-printed, and left. I told the employee that I would not leave the building
until I was certain my vote was counted.

14. I did not think to use a provisional ballot because I was not aware that I could. As
far as I knew, curing my ballot in Norristown was the only way I could ensure that my vote
counted in this election.

15. If I found out my vote would be thrown out over this, I would be devastated.
Voting is very important to me and I drove to a different town, and then to multiple buildings,
just to cure my ballot. I did this all in the pouring rain. This election is important to me. I need

my vote to count.

The statements made in this Declaration are true and correct to the best of my knowledge,
information, and belief. I understand that false statements made herein are subject to the

penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities.

Executed on November 6, 2020, in Elkins Park, Pennsylvania
 

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Natalie Zaslow Price
